8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 1 of 71 - Page ID # 5




                EXHIBIT 1
      8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 2 of 71 - Page ID # 6
Image ID:
D00825692D01                                                        Doc. No.    825692

                 IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                        1701 Farnam
                        Omaha              NE 68183



Denisha M Seals v. Board of Regents of the Univ. of NE
                                                               Case ID: CI 22    8612


TO:    Board of Regents of the Univ. of NE




You have been sued by the following plaintiff(s):

       Denisha M Seals




Plaintiff's Attorney:         John D Cartier
Address:                      PO BOX 5241
                              6401 'Q' St.,Ste. #100
                              Lincoln, NE 68505
Telephone:                    (954) 319-9832

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:    NOVEMBER   7, 2022       BY THE COURT:
                                                       Clerk




                                    Page 1 of 2
   8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 3 of 71 - Page ID # 7
Image ID:
D00825692D01                                                      Doc. No.   825692

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Board of Regents of the Univ. of NE
         Attn: Board of Regents
         3835 Holdrege Street
         Lincoln, NE 68583

BY: Douglas County District Court
Method of service: Certified Mail
Submitted Praecipe to Douglas district court, let me know if that will
 take care of notice. I plan on emailing a copy of approved complaint

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                             Page 2 of 2
           8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 4 of 71 - Page ID # 8


                                                                        Doc. No.   825692

                           Douglas District Court
                             1701 Farnam
                             Omaha              NE 68183

    To: Douglas County District Court
    Case ID: CI 22    8612 Seals v. Board of Regents of the Univ. o




To: Board of Regents of the Univ. of NE       From: John D Cartier
    Attn: Board of Regents                          PO BOX 5241
    3835 Holdrege Street                            6401 'Q' St.,Ste. #100
    Lincoln, NE 68583                               Lincoln, NE 68505
      8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 5 of 71 - Page ID # 9
Image ID:
D00825695D01                                                        Doc. No.    825695

                 IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                        1701 Farnam
                        Omaha              NE 68183



Denisha M Seals v. Board of Regents of the Univ. of NE
                                                               Case ID: CI 22    8612


TO:    Joanne Li Dr.




You have been sued by the following plaintiff(s):

       Denisha M Seals




Plaintiff's Attorney:         John D Cartier
Address:                      PO BOX 5241
                              6401 'Q' St.,Ste. #100
                              Lincoln, NE 68505
Telephone:                    (954) 319-9832

A copy of the complaint/petition is attached. To defend this lawsuit, an
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you fail to respond, the court may enter judgment for the relief demanded in the
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the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:    NOVEMBER   7, 2022       BY THE COURT:
                                                       Clerk




                                    Page 1 of 2
   8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 6 of 71 - Page ID # 10
Image ID:
D00825695D01                                                      Doc. No.   825695

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Joanne Li Dr.
         201 Eppley Administration Building
         6001 Dodge St.
         Omaha, NE 68182

BY: Douglas County District Court
Method of service: Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
           8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 7 of 71 - Page ID # 11


                                                                        Doc. No.   825695

                            Douglas District Court
                              1701 Farnam
                              Omaha              NE 68183

    To: Douglas County District Court
    Case ID: CI 22    8612 Seals v. Board of Regents of the Univ. o




To: Joanne Li Dr.                              From: John D Cartier
    201 Eppley Administration Building               PO BOX 5241
    6001 Dodge St.                                   6401 'Q' St.,Ste. #100
    Omaha, NE 68182                                  Lincoln, NE 68505
      8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 8 of 71 - Page ID # 12
Image ID:
D00825696D01                                                        Doc. No.    825696

                  IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                         1701 Farnam
                         Omaha              NE 68183



Denisha M Seals v. Board of Regents of the Univ. of NE
                                                               Case ID: CI 22    8612


TO:    Margarette Christensen Dr.




You have been sued by the following plaintiff(s):

       Denisha M Seals




Plaintiff's Attorney:         John D Cartier
Address:                      PO BOX 5241
                              6401 'Q' St.,Ste. #100
                              Lincoln, NE 68505
Telephone:                    (954) 319-9832

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
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Complete and return the attached form to the court if representing yourself.


Date:    NOVEMBER   7, 2022       BY THE COURT:
                                                       Clerk




                                    Page 1 of 2
   8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 9 of 71 - Page ID # 13
Image ID:
D00825696D01                                                      Doc. No.   825696

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Margarette Christensen Dr.
         ATTN: M. Christensen-192 ASH
         6001 Dodge St.
         Omaha, NE 68182

BY: Douglas County District Court
Method of service: Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
          8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 10 of 71 - Page ID # 14


                                                                        Doc. No.   825696

                           Douglas District Court
                             1701 Farnam
                             Omaha              NE 68183

    To: Douglas County District Court
    Case ID: CI 22    8612 Seals v. Board of Regents of the Univ. o




To: Margarette Christensen Dr.                From: John D Cartier
    ATTN: M. Christensen-192 ASH                    PO BOX 5241
    6001 Dodge St.                                  6401 'Q' St.,Ste. #100
    Omaha, NE 68182                                 Lincoln, NE 68505
  8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 11 of 71 - Page ID # 15
Image ID:
D00825694D01                                                       Doc. No.    825694

               IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                      1701 Farnam
                      Omaha              NE 68183



Denisha M Seals v. Board of Regents of the Univ. of NE
                                                              Case ID: CI 22    8612


TO:   Tracy Bridgeford Dr.




You have been sued by the following plaintiff(s):

      Denisha M Seals




Plaintiff's Attorney:        John D Cartier
Address:                     PO BOX 5241
                             6401 'Q' St.,Ste. #100
                             Lincoln, NE 68505
Telephone:                   (954) 319-9832

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
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Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
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Complete and return the attached form to the court if representing yourself.


Date:   NOVEMBER   7, 2022       BY THE COURT:
                                                      Clerk




                                   Page 1 of 2
  8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 12 of 71 - Page ID # 16
Image ID:
D00825694D01                                                      Doc. No.   825694

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Tracy Bridgeford Dr.
         ATTN:Tracy Bridgeford-BLDG 6001
         6001 Dodge St.
         Omaha, NE 68182

BY: Douglas County District Court
Method of service: Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                             Page 2 of 2
          8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 13 of 71 - Page ID # 17


                                                                        Doc. No.   825694

                           Douglas District Court
                             1701 Farnam
                             Omaha              NE 68183

    To: Douglas County District Court
    Case ID: CI 22    8612 Seals v. Board of Regents of the Univ. o




To: Tracy Bridgeford Dr.                      From: John D Cartier
    ATTN:Tracy Bridgeford-BLDG 6001                 PO BOX 5241
    6001 Dodge St.                                  6401 'Q' St.,Ste. #100
    Omaha, NE 68182                                 Lincoln, NE 68505
  8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 14 of 71 - Page ID # 18
Image ID:
D00825693D01                                                       Doc. No.    825693

               IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                      1701 Farnam
                      Omaha              NE 68183



Denisha M Seals v. Board of Regents of the Univ. of NE
                                                              Case ID: CI 22    8612


TO: University of Nebraska Omaha
DBA: ATTN: Stacia Palser



You have been sued by the following plaintiff(s):

    Denisha M Seals




Plaintiff's Attorney:        John D Cartier
Address:                     PO BOX 5241
                             6401 'Q' St.,Ste. #100
                             Lincoln, NE 68505
Telephone:                   (954) 319-9832

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
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the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:   NOVEMBER   7, 2022       BY THE COURT:
                                                      Clerk




                                   Page 1 of 2
  8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 15 of 71 - Page ID # 19
Image ID:
D00825693D01                                                      Doc. No.   825693

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         University of Nebraska Omaha
         3835 Holdrege Street
         232 Varner Hall
         Lincoln, NE 68583

Method of service:   Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
          8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 16 of 71 - Page ID # 20


                                                                        Doc. No.   825693

                           Douglas District Court
                             1701 Farnam
                             Omaha              NE 68183

    To:
    Case ID: CI 22    8612 Seals v. Board of Regents of the Univ. o




To: University of Nebraska Omaha              From: John D Cartier
    3835 Holdrege Street                            PO BOX 5241
    232 Varner Hall                                 6401 'Q' St.,Ste. #100
    Lincoln, NE 68583                               Lincoln, NE 68505
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 17 of 71 - Page ID # 21
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 18 of 71 - Page ID # 22
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 19 of 71 - Page ID # 23
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 20 of 71 - Page ID # 24
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 21 of 71 - Page ID # 25
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 22 of 71 - Page ID # 26
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 23 of 71 - Page ID # 27
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 24 of 71 - Page ID # 28
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 25 of 71 - Page ID # 29
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 26 of 71 - Page ID # 30
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 27 of 71 - Page ID # 31
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 28 of 71 - Page ID # 32
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 29 of 71 - Page ID # 33
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 30 of 71 - Page ID # 34
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 31 of 71 - Page ID # 35
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 32 of 71 - Page ID # 36
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 33 of 71 - Page ID # 37
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 34 of 71 - Page ID # 38
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 35 of 71 - Page ID # 39
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 36 of 71 - Page ID # 40
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 37 of 71 - Page ID # 41
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 38 of 71 - Page ID # 42
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 39 of 71 - Page ID # 43
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 40 of 71 - Page ID # 44
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 41 of 71 - Page ID # 45
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 42 of 71 - Page ID # 46
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 43 of 71 - Page ID # 47
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 44 of 71 - Page ID # 48
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 45 of 71 - Page ID # 49
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 46 of 71 - Page ID # 50
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 47 of 71 - Page ID # 51
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 48 of 71 - Page ID # 52
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 49 of 71 - Page ID # 53
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 50 of 71 - Page ID # 54
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 51 of 71 - Page ID # 55
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 52 of 71 - Page ID # 56
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 53 of 71 - Page ID # 57
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 54 of 71 - Page ID # 58
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 55 of 71 - Page ID # 59
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 56 of 71 - Page ID # 60
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 57 of 71 - Page ID # 61
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 58 of 71 - Page ID # 62
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 59 of 71 - Page ID # 63
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 60 of 71 - Page ID # 64
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 61 of 71 - Page ID # 65
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 62 of 71 - Page ID # 66
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 63 of 71 - Page ID # 67
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 64 of 71 - Page ID # 68
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 65 of 71 - Page ID # 69
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 66 of 71 - Page ID # 70
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 67 of 71 - Page ID # 71
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 68 of 71 - Page ID # 72
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 69 of 71 - Page ID # 73
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 70 of 71 - Page ID # 74
8:22-cv-00420-BCB-SMB Doc # 1-1 Filed: 12/07/22 Page 71 of 71 - Page ID # 75
